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 10
 11                     UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA
 12
 13   Bureau of Consumer Financial Protection, )
                                               )              Case No.: 8-20-cv-00043-JVS-ADS
 14                    Plaintiff,              )
                                               )              STIPULATION TO EXTEND TIME
 15               vs.                          )              TO RESPOND TO FIRST AMENDED
                                               )              COMPLAINT
 16   Chou Team Realty, LLC et al.,            )
                                               )
 17                    Defendants.             )
                                               )
 18                                            )
 19
 20         Plaintiff Bureau of Consumer Financial Protection (“Bureau”),
 21   Defendants Eduardo Martinez, Docs Done Right, Inc., Docs Done Right, LP,
 22   David Sklar, and Lend Tech Loans, Inc. (collectively, “Defendants”), and
 23   Relief Defendants Kenneth Lawson and XO Media, LLC (collectively, “Relief
 24   Defendants”) stipulate as follows:
 25         1.    The initial Complaint in this matter was filed on January 9, 2020.
 26         2.    Relief Defendants moved to dismiss the initial Complaint on April
 27   9, 2020. (ECF No. 69.)
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  1            3.   On June 11, 2020, the Court granted Relief Defendants’ motion to
  2   dismiss and granted the Bureau 30 days to replead against them. (ECF No. 108
  3   at 5.)
  4            4.   On July 10, 2020, the Bureau filed its First Amended Complaint
  5   (“FAC”), which contains additional allegations concerning its claim against the
  6   Relief Defendants. (ECF No. 117.)
  7            5.   Defendants’ and Relief Defendants’ deadline to answer or
  8   otherwise respond to the FAC is July 24, 2020.
  9            6.   The Bureau plans to seek leave to file a Second Amended
 10   Complaint (“SAC”) on or before July 31, 2020, which is the deadline to amend
 11   the pleadings. (ECF No. 83.) The SAC would allege additional claims against
 12   Defendants Eduardo Martinez, Docs Done Right, Inc., and Docs Done Right,
 13   LP.
 14            7.   Given the Bureau’s plan to seek leave to file the SAC, counsel for
 15   the Bureau, Defendants, and Relief Defendants have jointly agreed to request an
 16   extension for the filing of Defendants’ and Relief Defendants’ responses to the
 17   FAC. Specifically, counsel have agreed to request that Defendants and Relief
 18   Defendants have either (1) 21 days to respond to the SAC from when it is filed
 19   (if the Court grants the Bureau leave to file the SAC); or (2) 21 days to respond
 20   to the FAC from the Court’s order on the Bureau’s motion for leave to file the
 21   SAC (if the Court denies the Bureau leave to file the SAC). The Bureau,
 22   Defendants, and Relief Defendants believe that the requested extension will
 23   preserve the parties’ and the Court’s resources and will not unduly delay this
 24   action, which is not scheduled to go to trial until July 2021. (ECF No. 81.)
 25            8.   All signatories listed below, and on whose behalf this filing is
 26   submitted, concur in the filing’s content and have authorized the filing.
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  1   IT IS SO STIPULATED.
  2   Dated July 23, 2020                         Respectfully Submitted,
  3                                               /s/ Colin Reardon
                                                  Leanne E. Hartmann
  4                                               Colin Reardon (pro hac vice)
                                                  E. Vanessa Assae-Bille (pro hac vice)
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                                                  1700 G Street, NW
  6                                               Washington, D.C. 20552
  7                                               Attorneys for Plaintiff Bureau of
                                                  Consumer Financial Protection
  8
  9                                               /s/ William I. Rothbard
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                                                  2333 Canyonback Rd.
 11                                               Los Angeles, CA 90049
 12                                               Attorney for Relief Defendants XO
                                                  Media, LLC and Kenneth Lawson
 13
 14                                               /s/ David C. Holt
                                                  David C. Holt
 15                                               The Holt Law Firm
                                                  1432 Edinger Avenue, Ste. 130
 16                                               Tustin, CA 92780
 17                                               Attorney for Defendants Eduardo
                                                  Martinez, Docs Done Right, Inc., Docs
 18                                               Done Right, LP, David Sklar, and Lend
                                                  Tech Loans, Inc.
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                   STIPULATION TO EXTEND TIME TO RESPOND TO THE FIRST AMENDED COMPLAINT
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